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                   Exhibit A
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472 Lex Machina cases for Leonard Philip Stark of D.Del.                                                                                   Page 1 of 1



District Judge Leonard Philip Stark of the U.S. District Court for the District of Delaware D.Del.
Cases
 Showing 472 Patent cases before District Judge Leonard Philip Stark; with Patent: ANDA case tag; pending between 2009-01-01 and
 2019-12-19; sorted by most recent docket activity.



Summary
Case Filings (Top 6 by Focus Order)


                            100


                             80


                             60
               Filings




                             40


                             20


                               0
                                      <2014              2014         2015              2016            2017         2018          2019*
  Copyright                             0                0             0                0               0            0             0

  Patent                              120                47            44              40               95           75            51

  Trade Secret                          0                0             0                0               0            0             0

  Trademark                             0                0             0                0               0            0             0

  Antitrust                             2                0             0                1               0            0             1

  Bankruptcy                            0                0             0                0               0            0             0

                                                                         * 2019 numbers are year-to-date. Open dots are full-year estimates.
Cases by Type                                                                                  Courts
Case Types                                Cases                                                D.Del.          472          100%

Patent                                       472

Antitrust                                      4

Contracts                                      4

All other Case Types have 0 results in this case list.


Case Status


Open: 123 (26%)                                                 Terminated: 349 (74%)




  https://law.lexmachina.com/court/ded/judge/3291/cases?case_types-include=27&case_tags-include=92&pending-from=2009-01-01&pending-
